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                                                                                           EXHIBIT F
                                                                                        Class Representatives




Defendant(s)                                                        Class Representative     Case Information
Coachman Industries, Inc., Coachman RV Licensed Products            Anthony Dixon            Carey, et al v. Coachmen Recreational Vehicle Company, LLC, et al , E.D. La. No. 09-5747
Division, L.L.C.; Coachmen Recreational Vehicle Company,
L.L.C., Coachmen Recreational Vehicles of Georgia, LLC;
Viking Recreational Vehicles, LLC.

Cruiser RV, LLC; Doubletree RV, L.L.C.                              Kim Siverio              Siverio v. Cruiser RV, LLC, et al, E.D. La. No. 09-6069
Forest River, Inc.; Vanguard Industries of Michigan, Inc.;
Vanguard, Inc.                                                      Abbie West               Anderson, et al v. Forest River, Inc., et al , E.D. La. No. 10-3124
Frontier RV, Inc.; Frontier RV Georgia, L.L.C.                      Glenda Moreland          Balay, et al v. Frontier RV, Inc., et al , E.D. La. No. 09-5384
Gulf Stream Coach, Inc.                                             Clyde Bean               Bean, et al v. Gulf Stream Coach, Inc., et al , E.D. La. No. 09-6070
Heartland Recreational Vehicles, LLC                                Trina Brown              Bradley, et al v. Heartland Recreational Vehicles, LLC., et al , E.D. La. No. 09-8401
Hy-Line Enterprises, Inc., n/k/a FRH, Inc.                          Centra Myers             Myers, et. al. v. Hy-Line Enterprises, Inc. , S.D. Tx. No. 10-0637
Jayco, Inc.; Jayco Enterprises, Inc.; Jayco Corp.; Starcraft RV,
Inc.                                                                Dorothy G. Carr          Burns, et al v. Jayco, Inc., et al , E.D. La. No. 10-2238
KZRV, LP                                                            Melvin Mackey            Kisha Sellers, et al v. KZRV, LP, et al , E.D. La. No. 09-4899
Monaco Coach Corporation                                            Toni Garner              Garner, et al v. Am. Int'l Specialty Lines, Co., et al , E.D. La. No. 09-5226
Pilgrim International, Inc.                                         Gregory Brown            Brown, et al v. Pilgrim International, Inc., et al , E.D. La. No. 09-3868
Play’Mor Trailers, Inc.                                             Craig Ray, Sr.           Ray, et. al. v. Play'Mor Trailers, Inc., et al , E.D. La. No. 11-0345
Recreation By Design, LLC; TL Industries, Inc.                      Christopher Love         Love v. Recreation By Design, LLC, et al , E.D. La. No. 09-8623
R-Vision, Inc.                                                      Cynthia Devore           Decou, et al v. Liberty Mutual Ins. Co., et al , E.D. La. No. 09-8459
Skyline Corporation, Inc.; Skyline Homes, Inc.; Layton Homes        Peter Daunoy, III        Daunoy, III, et al v. Layton Homes Corp., et al , E.D. La. No. 09-5942
Corp.; Homette Corporation
SunRay R.V., L.L.C, and SunRay Investments, L.L.C.                  Mary Harris              Harris, et al v. SunRay RV, LLC, et al , E.D. La. No. 09-7665
Thor Industries, Inc.; Thor California, Inc.; Citair, Inc.; Damon   Raymond Bell, Jr.        Davis, et al v. Keystone RV Co., et al , E.D. La. No. 09-4947
Motor Coach; DS Corp. d/b/a CrossRoads RV, Inc.; Dutchmen
Manufacturing, Inc.; Four Winds International Corporation;
Keystone RV Company; Komfort Corp.;

Timberland RV Company, Inc. d/b/a Adventure Manufacturing           Lisa Broome              Brent, et al v. Timberland RV Co., Inc., et al , E.D. La. No. 09-8400




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